     Case
MIED (Rev. 5/05)5:11-cv-13996-JCO-MAR                             ECF
                Statement of Disclosure of Corporate Affiliations and      No.
                                                                      Financial     2
                                                                                Interest   filed 09/13/11   PageID.11   Page 1 of 1

                                                         UNITED STATES DISTRICT COURT
                                                         EASTERN DISTRICT OF MICHIGAN

EFREM WALKER


                        Plaintiff(s),                                                 Case No. 4:11-cv-13996

v.                                                                                    Judge John Corbett O'Meara
                                                                                      Judge

GENESEE VALLEY PARTNERS, L.P.                                                         Magistrate Judge Mark A. Randon


                        Defendant(s).
                                                                             /

                                           STATEMENT OF DISCLOSURE
                                 OF CORPORATE AFFILIATIONS AND FINANCIAL INTEREST

            Pursuant to E. D. Mich. LR 83.4, Efrem Walker

makes the following disclosure: (NOTE: A negative report, if appropriate, is required.)

1.          Is said corporate party a subsidiary or affiliate of a publicly owned corporation?
            Yes                      No      ✔
            If the answer is yes, list below the identity of the parent corporation or affiliate and the relationship
            between it and the named party.

            Parent Corporation/Affiliate Name:
            Relationship with Named Party:

2.          Is there a publicly owned corporation or its affiliate, not a party to the case, that has a substantial financial
            interest in the outcome of the litigation?

            Yes                      No      ✔

            If the answer is yes, list the identity of such corporation or affiliate and the nature of the financial interest.

            Parent Corporation/Affiliate Name:
            Nature of Financial Interest:


Date: September 13, 2011                                                               /s/ Pete M. Monismith

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